Case 1:20-cv-00736-JLH    Document 205 Filed 06/02/23    Page 1 of 21 PageID #:
                                    13841



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
COLUMBUS LIFE INSURANCE
COMPANY,
            Plaintiff,
            v.                          No. 1:20-cv-00735-MN-JLH
WILMINGTON TRUST, N.A., as Securities
Intermediary,
            Defendant.
COLUMBUS LIFE INSURANCE
COMPANY,
            Plaintiff,                  No. 1:20-cv-00736-MN-JLH
            v.
WILMINGTON TRUST, N.A., as Securities
Intermediary,
            Defendant.

        COLUMBUS LIFE INSURANCE COMPANY’S SUPPLEMENTAL
       BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
Case 1:20-cv-00736-JLH                       Document 205 Filed 06/02/23                             Page 2 of 21 PageID #:
                                                       13842



                                                  TABLE OF CONTENTS
                                                                                                                                    Page

I.     INTRODUCTION .................................................................................................................. 1

II.    ARGUMENT .......................................................................................................................... 2

          A.         No Rational Factfinder Could Find Wilmington Has Carried Its Burden Of
                     Proving Viva Was Less At Fault. ............................................................................2

          B.         Wilmington Cannot Carry Its Burden Of Proving Its Own Less Fault Theory. ......5

          C.         The Corwell Analysis Is Persuasive Authority Here. ............................................11

          D.         No Rational Juror Could Conclude Wilmington Can Carry Its Burden Of Proving
                     The Prior Owners Were Less At Fault Than Columbus. .......................................12

          E.         Awarding Wilmington A Refund Of The Premium Would Have The
                     Impermissible Effect Of Allowing The Illegal Wager To Pay Off. ......................16

III.      CONCLUSION ................................................................................................................. 16
Case 1:20-cv-00736-JLH                    Document 205 Filed 06/02/23                          Page 3 of 21 PageID #:
                                                    13843



                                            TABLE OF AUTHORITIES
Cases

Altenbaugh v . Benchmark Builders,
  2022 WL 176292, at *2 (Del. 2022) ........................................................................................... 6

AMT Capital Holdings, S.A. v. Sun Life Assur. Co. of Can.,
 No. 654756/2016, 77 N.Y.S.3d 18 (Ct. App. 1st Dept. 2018) .................................................... 6

Chesapeake Corp. v. Shore,
  771 A.2d 293, 301 (Del. Ch. 2000)............................................................................................. 9

Geronta Funding v. Brighthouse Life Ins. Co.,
  284 A.3d 47, 77 (Del. 2022) ("Seck") ................................................................................ passim

Lehman Brothers v. Kee,
  268 A.3d 178, 193-94 (Del. 2021) .............................................................................................. 6

Matthews v. Kidder Peabody,
 260 F.3d 239, 251-52 (3d Cir. 2001) .......................................................................................... 6

McCann v. Newman Irrev. Tr.,
 458 F.3d 281, 287 (3d Cir. 2006)................................................................................................ 8

Mentor Graphics v. Quickturn Design,
 No. 16584 at 505 (Del. Ch. Oct. 23, 1998) ................................................................................. 9

SEC v. ABC Viatical,
  No. 3:06-cv-2136 (N.D. Tex. Nov. 17, 2006)........................................................................... 13

Sun Life v. Paulson,
  2008 WL 11349980 (D. Minn. Sept. 3, 2008) ............................................................................ 7

Sun Life v. Wells Fargo,
  44 F. 4th 1024 (7th Cir. 2022) (“Corwell”) ........................................................................ 11, 12

U.S. v. Lamonda,
  384 F. App’x 944 (11th Cir. 2010) ........................................................................................... 13

Wal-Mart v. Crist,
 855 F.2d 1326, 1335 (8th Cir. 1998) ........................................................................................ 12

Wilmington Tr. v. Sun Life,
  --- A.3d ---, 2023 WL 2564350 (Del. Mar. 20, 2023) ("Frankel & De Bourbon") ........... passim

Wuliger v. Manuf. Life,
 567 F.3d 787, 797 (6th Cir. 2009) ............................................................................................ 16
Case 1:20-cv-00736-JLH           Document 205 Filed 06/02/23              Page 4 of 21 PageID #:
                                           13844



I.     INTRODUCTION

       The Frankel & De Bourbon decision marks another major loss for STOLI investors. The

Delaware Supreme Court held investors cannot assert any claim or defense that would, “in effect,”

cause the wager to pay off. The Court declined to adopt a bright-line rule that to prove less fault

all an investor needs to do is prove the insurer had inquiry notice first—confirming instead that

Seck requires a “fact-intensive” analysis of the parties’ fault in light of the relevant public policy

considerations and that “whether and when” the parties were on inquiry notice is merely one of

the many considerations courts must assess. The court also held that to recover premium paid by

prior owners, the investor must prove the prior owners were less at fault than the insurer.

       These holdings are fatal to Wilmington’s claim here. When the parties’ fault is considered

in light of the public policy considerations set forth in Seck, no rational factfinder could find Viva

less at fault than Columbus because Columbus conducted a far more thorough investigation and

communicated far more of its concerns. Wilmington also has major, case-dispositive burden of

proof problems. Wilmington’s entire claim is predicated on proving Columbus was on inquiry

notice first. Not only did Frankel & De Bourbon confirm that this is not enough to prove less fault,

but Wilmington has no evidence to prove Columbus was on inquiry notice at any time because

Wilmington has no witness to testify as to whether a prudent insurer in Columbus’s position would

have inquired further. Without such evidence, no rational factfinder could conclude Wilmington

has carried its burden. Similarly, Frankel & De Bourbon makes clear that, to conduct the

comparative culpability analysis, courts must assess a variety of factors relating to what the parties

knew or should have known about the Policies’ insurable interest issues. But unlike Columbus,

Viva refused to disclose what it knew about insurable interest in this case. As the party with the

burden of proof, it was incumbent upon Wilmington to produce the information the factfinder

needs to actually conduct the comparison. Having elected not to do so, Wilmington cannot carry
Case 1:20-cv-00736-JLH            Document 205 Filed 06/02/23               Page 5 of 21 PageID #:
                                            13845



its burden. Nor can Wilmington recover the premium paid by the Policies’ prior owners because

it cannot prove they were less at fault. The prior owners include: (i) the original STOLI bad guys

(Kavanaugh); (ii) a criminal entity convicted of life insurance fraud by the SEC (ABC); and (iii) a

family of affiliated entities (Orca) that was told in open court in 2010 that the Cohen Policy was

void STOLI, but rather than tell Columbus, Orca continued to hold the Policies hoping to profit on

them when the insureds died. And, finally, allowing Wilmington to prevail on its strategy to collect

both the premium it paid and the premium its predecessors paid would, in effect, cause the wagers

to pay off in violation of Delaware’s Constitution and public policy because Wilmington would

receive more than the death benefit. This would turn Seck upside down and encourage promoters

to once again target Delaware with the next round of STOLI scams.

II.     ARGUMENT
        A.      No Rational Factfinder Could Find Wilmington Has Carried Its Burden Of
                Proving Viva Was Less At Fault.
        The Frankel & De Bourbon court confirmed that a claimant like Wilmington bears the

burden of proving unjust enrichment and one of the five Seck exceptions to the general rule that

parties to illegal agreements are usually left where they are found. Wilmington Tr. v. Sun Life, 2023

WL 2564350, at *10 (Del. Mar. 20, 2023) (“Frankel & De Bourbon”). The court further clarified

that this is a holistic, “manifestly fact intensive” inquiry that requires courts to assess the “fault of

the parties” in light of the relevant “public policy considerations.” Id.

        The public policy considerations identified in Seck are grounded in the concept of “good

faith.” Geronta Funding v. Brighthouse Life Ins. Co., 284 A.3d 47, 77 (Del. 2022). The test is

meant to “incentivize[] insurers to speak up when the circumstances suggest that a policy is void

for lack of an insurable interest” while at the same time “encouraging investors to actually

investigate all policies to avoid the risk of losing their premiums.” Id. The hope is that by rewarding

parties that (i) conduct “thorough investigations of life insurance policies” and (ii) raise their


                                                   2
Case 1:20-cv-00736-JLH            Document 205 Filed 06/02/23              Page 6 of 21 PageID #:
                                            13846



insurable interest concerns with their counterparties, this will “uncover those that are void ab initio

against public policy.” Id. The ultimate goal, of course, is to “incentivize investors not to procure

or purchase these unenforceable policies in the first instance.” Id. Wilmington fails this test.

       No rational factfinder could fail to conclude Columbus conducted a far more thorough

investigation into the policies’ origination than Viva. Columbus had multiple meetings with the

premium funder and the insurance producer, and Columbus interviewed both insureds prior to

issuance. Through these investigations, Columbus was assured (falsely, as it turns out) that

legitimate policies were being taken out for legitimate purposes as part of a bona fide “estate plan”;

that they would never be sold to investors; and that the program was supported by “traditional

insurable interest.” Ex. EEE. After the Policies were sold, Columbus again investigated.

CL.Ans.Br. at 11, 19. Nonetheless, the STOLI promoters managed to conceal from Columbus that

none of these Policies were taken out in good faith and that all were mere wagers on human life.

In 2019, after Columbus learned that premium-financed policies had been successfully challenged

under Delaware law and that Delaware law could be predictably applied to policies insuring the

lives of residents of states other than Delaware in 2017, Columbus sent Wilmington a letter

reserving its rights to challenge the Policies for lack of insurable interest and further stating: “[I]f

Wilmington Trust or its principal(s) have any evidence that the above-referenced policy issued by

Columbus Life is STOLI, please contact Columbus Life as soon as possible and provide it with all

such evidence.” Ex. EEEE at 4542, 4546 (citing Malkin and Van de Wetering decisions).

       In contrast, no rational factfinder could find Viva conducted a “thorough investigation.”

Viva concedes all it did was review whatever documents the seller happened to provide, which

Viva concedes were “limited.” CL.Op.Br. at 21-23, 39-40. In contrast to Columbus, Viva did not

even try to interview the insureds, to speak to the funder or producer, or to obtain the relevant




                                                   3
Case 1:20-cv-00736-JLH           Document 205 Filed 06/02/23              Page 7 of 21 PageID #:
                                           13847



documentation. Id. In fact, Viva concedes it did not do anything to determine if the Policies were

taken out to be sold or the insureds were financially induced—even though Viva’s own trade

organization’s “minimum” diligence guidelines plainly state investors should try to figure these

things out and refrain from buying policies created that way. Id.; see also Ex. SS at D-1-3.

       Instead of “actually investigating” the Policies’ origination, Viva tried to solve the

insurable interest problems it knew the Policies had by securing representations. But the seller’s

agent specifically carved the Policies out of the representations it was giving for most of the other

policies in the Portfolio. One of those representations the seller’s agent refused to give was:

       To MLA’s Knowledge, the Policy was issued to a Person who, under the laws of
       the jurisdiction in which such person resided at the time the Policy was issued, is
       reasonably likely to be found to have met the prima facie requirements for insurable
       interest in the life of the Insured at the time the Policy was issued.

Ex. UU at 66-67.

                                                                               Id. at 72. Another was:

       MLA has no Knowledge of any facts or circumstances that in MLA’s good faith
       judgment, given the law of, and the preponderance of the court rulings in, the
       applicable jurisdiction governing the issuance of the Policy, would likely serve as
       a viable defense to prevent payment of the Death Benefit by the applicable Issuing
       Insurance Company upon the death of the applicable Insured(s).

Id. at 66-67. The seller’s agent refused to give an alternative representation. Id. at 76.



                                                                        is a major red flag that would

have caused a prudent person to investigate the Policies further. Likewise, the seller’s agent’s

refusal to represent that it was unaware of facts that might lead to policy unenforceability was

another major red flag that would also have caused a prudent person to investigate further.

       But instead of inquiring further—and instead of offering to buy only the policies that did

not have insurable interest problems—Viva simply agreed to pay less for the Polices. Nor did Viva



                                                  4
Case 1:20-cv-00736-JLH            Document 205 Filed 06/02/23               Page 8 of 21 PageID #:
                                            13848



share its concerns with Columbus, including when Columbus expressly asked Wilmington and

Viva to provide any insurable interest information they had. Ex. EEEE; CL.Op.Br. at 23.

        Wilmington knows Viva did far less investigation and communication, which is why it

ignores the broad test Seck actually articulated and tries to replace it with a far narrower test

focusing solely on whether the insurer was on inquiry notice before the investor. This “first-in-

time” argument is Wilmington’s entire argument here just as it was in Frankel & De Bourbon.

And in Frankel & De Bourbon, Wilmington tried very hard to get the Supreme Court to adopt this

narrow test. 2023 WL 2564350, at *9. But the court did not accept that invitation and instead

reiterated the broad test it articulated in Seck and made clear that “whether and when the parties

had actual knowledge or inquiry notice of the policies’ illegality” is merely one of the many

“considerations that this Court identified . . . as relevant to the fault-based analysis.” Id. at *10.

        B.      Wilmington Cannot Carry Its Burden Of Proving Its Own Less Fault Theory.
        Frankel & De Bourbon also made clear that claimants like Wilmington bear the burden of

proving they were less at fault. Id. at *10-11. And Wilmington is incapable of satisfying that

burden because Wilmington (i) has no evidence that a prudent insurer in Columbus’s position

would have done more; (ii) failed to retain an expert to opine on this specialized area; (iii) refused

to produce its insurable interest analysis to allow this Court to properly compare what the parties

knew or should have known; and (iv) has produced sanitized “business-related testimony” that is

wholly insufficient to cure its self-imposed burden of production failure.

        As noted, Wilmington’s entire “less at fault” theory here is its allegation that Columbus

was on inquiry notice first. “A party is deemed to have inquiry notice ‘upon the discovery of facts

constituting a basis for the cause of action, or [where the party] knows facts sufficient to put a

person of ordinary intelligence and prudence on inquiry, which, if pursued, would lead to the

discovery of such facts.’ The court should consider whether there were red flags that would have


                                                   5
Case 1:20-cv-00736-JLH            Document 205 Filed 06/02/23              Page 9 of 21 PageID #:
                                            13849



left a prudent person of ordinary intelligence to inquire further.” Altenbaugh v. Benchmark

Builders, 2022 WL 176292, at *2 (Del. 2022); see Lehman Brothers v. Kee, 268 A.3d 178, 193-

94 (Del. 2021) (describing standard as “what a reasonable person in [the party’s] position would

have inferred”); Matthews v. Kidder Peabody, 260 F.3d 239, 251-52 (3d Cir. 2001) (describing

standard as what “a reasonable investor” would have inferred).

       Although proving Columbus was on inquiry notice first would not prove Wilmington was

less at fault, Wilmington does not even have the evidence to prove Columbus was on inquiry

notice, let alone first. To do so, Wilmington would need to prove, not just that Columbus knew

certain things at certain times, but that a prudent insurer in Columbus’s position would have

inquired further and would have learned through that further inquiry that the Policies were void.

But Wilmington does not have a single witness who can or does testify that a prudent insurer would

have inquired more than Columbus or that any prior inquiry would have been fruitful.

       This is fatal to Wilmington’s theory. To be clear, Wilmington’s lawyers argue that because

the Policies had certain high-level indicia of potential STOLI (indicia shared with many legitimate

policies), Columbus should have filed suit many years ago to figure it out. (D.I. 193 at 14:3-4).

But insurers cannot challenge policies simply because they were issued on the lives of seniors or

were financed or were sold after issuance. Before a prudent insurer can challenge a policy, it must

conduct a complicated legal and factual analysis to determine, with a high degree of confidence,

that a favorable state’s law will apply and that it can marshal the evidence needed to prove STOLI

under that law. Insurers who guess wrong, get sued. See, e.g., Complaint, AMT Capital v. Sun Life,

No. 654756/2016, 77 N.Y.S.3d 18 (Ct. App. 1st Dept. 2018), ECF No. 1 (insurer sued for damages

for the policy’s alleged reduction in value as a result of insurer’s issuance of a reservation of rights




                                                   6
Case 1:20-cv-00736-JLH         Document 205 Filed 06/02/23              Page 10 of 21 PageID #:
                                         13850



letter on an in-force potential STOLI policy); Sun Life v. Paulson, 2008 WL 11349980 (D. Minn.

Sept. 3, 2008) (insurer targeted with Rule 11 motion due to a lack of specifics in STOLI complaint).

       Here, the first reported decisions that applied, as here, Delaware STOLI law to non-

residents; and found, as here, non-recourse financed policies void under Delaware law (Malkin

and Van de Wetering) were not issued until 2016 and affirmed until 2017. And the Supreme Court

did not set forth the test for determining whether such policies were void (Berland) until 2022. No

prudent insurer in Columbus’ position would have, as Wilmington argues, filed a STOLI suit on a

hunch to “let a Court figure out whether they are, in fact, STOLI.” (D.I. 193 at 14:3-4).

       This Court is not expected to be an expert in the insurance industry. If Wilmington wanted

to try to prove that Columbus was on inquiry at some point in time, it could have retained an expert

to opine on what a prudent insurer would have done. But Wilmington made the strategic choice

not to; instead, it chose to gamble that the automatic premium refund rule would be adopted. But

Seck rejected that rule, and Frankel & De Bourbon squarely put the burden of proving less fault

on Wilmington. Thus, Wilmington’s lack of evidence as to what a prudent insurer in Columbus’s

position would have done means no rational factfinder could find that Columbus was on inquiry

notice, let alone that Columbus was on inquiry notice first or is more to blame on grounds of

inquiry notice, which is Wilmington’s only “less at fault” argument here.

       But Wilmington’s proof problems do not end there. Frankel & De Bourbon reiterated

Seck’s instruction that courts must consider whether the party (i) “knew the policy was void at

purchase or later learned the policy was void”; (ii) had knowledge of facts tending to suggest that

the policy is void; (iii) “procured the illegal policy”; (iv) “failed to notice red flags”; and (v)

“whether the investor’s expertise in the industry should have caused him to know or suspect that

there was a substantial risk that the policy it purchased was void.” 2023 WL 2564350, at *10. That




                                                 7
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23              Page 11 of 21 PageID #:
                                          13851



is, courts must compare what each party knew or should have known about the policies’ insurable

interest issues. And perhaps most importantly, as the party with the burden of proof, Wilmington

also bears the burden of producing its insurable interest analysis so the factfinder can engage in

the necessary comparison. McCann v. Newman, 458 F.3d 281, 287 (3d Cir. 2006) (“There are two

distinct elements of the burden of proof—the burden of production and the burden of persuasion.”).

       But unlike Columbus,1 Viva elected to withhold its entire insurable interest analysis. Viva

concedes “the entirety of Viva’s knowledge [about the Policies’ insurable interest] risks and their

implications came in the form of privileged communications with its counsel.” Ex. VV No. 4. Viva

concedes it withheld all documents reflecting the insurable interest “evaluation,” “diligence,” and

“analysis” its lawyers conducted. CL.Supp.Br. at 11-13. Viva conceded in interrogatories that it



                                                                                             Ex. VV

No. 4. And at deposition, Viva’s corporate representative (Nelson) refused to answer at least 27

questions designed to probe what Viva knew or should have known about the Policies’ insurable

interest. Ex. MM at 39:3-21, 87:24-90:11, 115:8-117:12, 176:24-177:16, 220:2-225:3. Because

Viva had the burden of proof and elected to refuse to disclose its insurable interest analysis, it has

failed to produce evidence from which a rational factfinder could conduct a meaningful



1
   Although Columbus claimed privilege over certain documents reflecting attorney-client
communications, unlike Viva, Columbus prepared its Rule 30(b)(6) witnesses with the substance
of Columbus’ insurable interest analysis—even if some of that analysis may have come from
lawyers—and Columbus’ litigation lawyers allowed Columbus’ witnesses to fully testify as to the
substance of that analysis at their depositions. In this regard, among other topics, Columbus Life
(i) designated its Sr. VP, Insurance Operations, Lisa Fangman and AVP, Claims, Justin Payne, to
testify on any insurable interest analysis that was conducted by, or on behalf of, Columbus, with
respect to the policies; and (ii) designated Ms. Fangman to testify on Columbus’ knowledge of the
KDI/Concordia Program. 30(b)(6) Deposition Topics 6, 14 and 17. These witnesses fully testified
on these topics. See, e.g., Ex. BBBB at 25:15-26:10, 69:7-94:4, 102:14-105:3, 107:8-109:6, 114:8-
123:11, 140:7-144:12, 156:3-160:17; Fangman Dep. at 32:14-41:23, 55:16-56:3, 120:17-157:1.

                                                  8
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23               Page 12 of 21 PageID #:
                                          13852



comparison of what the parties knew or should have known about the Policies’ insurable interest

problems, and thus Wilmington cannot carry its burden of proving Viva was less at fault. See

Chesapeake Corp. v. Shore, 771 A.2d 293, 301 (Del. Ch. 2000) (refusing to give any weight to the

party with the burden’s evidence about deliberations when it refused to allow its adversary to probe

the content of those deliberations); id. at n.8 (quoting Mentor Graphics v. Quickturn, No. 16584

at 505 (Del. Ch. Oct. 23, 1998) (“The defendants are the masters of the evidence they will present

in their defense, but they must accept the consequences of their tactical choice.”)).

       Wilmington tries to wiggle out of this problem by arguing that it is supposedly not relying

on advice of counsel. But it is hard to fathom how this could possibly be true since Viva concedes

its “entire” insurable interest analysis came from its attorneys; refuses to allow its witnesses to

answer any question calling for information received from attorneys; and then routinely makes

statements like “Viva and Preston did not know the Policies were invalid, they never learned the

Policies were invalid, they did not learn facts tending to suggest the Policies were invalid, they did

not fail to notice red flags, and their diligence revealed nothing that should have caused them to

know or suspect that there was a substantial risk the Policies were void.” WT.Supp.Br. at 9-10.

       In short, just as a personal injury plaintiff puts their medical records at issue, Viva – by

seeking a premium refund – has put its insurable interest analysis at issue. And just like a personal

injury plaintiff who loses his or her case because they failed to share their relevant medical records,

Viva loses its premium refund claim because it has failed to provide its due diligence evidence. If

the result is any different, Columbus is robbed of the opportunity to fairly probe what Viva knew

about insurable interest, and the factfinder is robbed of any rational basis for comparing fault.

       Wilmington tries to suggest none of this matters because Viva supposedly determined that

the insurable interest risk was “de minimis” because Nelson testified that he supposedly only




                                                  9
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23             Page 13 of 21 PageID #:
                                          13853



applied a 0.43% insurable interest discount to the valuation and because Nelson supposedly “can

provide a lot of non-privileged, business-related testimony that bears upon that calculation without

going into the advice of attorneys.” (D.I. 193 at 21:3-8, 32:1-13). But focusing on Nelson’s

testimony just further highlights the fatal flaws in Wilmington’s position on this issue.

       Nelson’s so-called “business-related testimony” doesn’t cure the problem because, as

noted, Viva (and Nelson) conceded that “the entirety” of Viva’s insurable interest knowledge came

from its attorneys and then refused to disclose any document, or answer any question, that reflected

any of the insurable interest advice Viva’s attorneys provided. CL.Supp.Br. at 11-13. Indeed, at

his deposition, Nelson explained that,




Ex. MM at 97:11-98:10; see id. at 43:14-44:5, 47:3-6, 88:24-91:22, 92:2-93:14, 115:4-117:12,

172:19-177:16; 219:11-225:3.




                                                                          Id. at 172:19-177:16. By

Viva’s own admission,

                                                                 Viva concedes Nelson’s “business

related testimony” is                                                            and any testimony

Nelson gave is completely inadmissible because he



                                                10
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23              Page 14 of 21 PageID #:
                                          13854



       C.      The Corwell Analysis Is Persuasive Authority Here.
       Frankel & De Bourbon also noted that Sun Life v. Wells Fargo, 44 F. 4th 1024 (7th Cir.

2022) (“Corwell”) is available for a court to rely upon at its discretion. 2023 WL 2564350, at *11.

       In Corwell, an insurer issued a policy that was, unbeknownst to it, funded through a non-

recourse loan. 44 F. 4th at 1029-30. A little over two years later, the policy was sold, and the

insured applied for another policy; during underwriting for the second policy, the insurer learned

the first one had been funded by a non-recourse loan; the insurer, which had a policy against non-

recourse loans, declined to issue the new policy. Id. at 1039 n.5; Br. of Wells Fargo, Corwell, 20-

2339, Doc. 26 at 19. When the insured died, the owner made a claim for the policy’s death benefit,

and the insurer sought a declaration that it lacked insurable interest. Corwell, 44 F. 4th at 1030-31.

The trial court declared the policy void, but refunded the owner (Vida) the premium it paid. Id.

       The Seventh Circuit affirmed the policy’s invalidity, but reversed the refund, allowing the

insurer to retain all premium. The court reasoned: “[I]n a case of a void contract like this, the

issue of in pari delicto calls for a comparison of the fault of the claimant to the fault of the party

from whom restitution is sought.” Id. at 1040 (emphasis added). Under this analysis—which is

substantially the same as the Seck test—the court found the insurer was not “substantially at greater

fault than Vida,” rejecting the argument that the insurer was more at fault for failing to do more

when it learned of the loan. Id. at 1039 n.5. As the court explained, the use of premium financing

may be a “red flag,” but “does not necessarily make a policy illegal as a matter of law.” Id. Indeed,

the policy was not invalidated merely because it used a non-recourse loan, and the court found it

significant that “the 2009 discovery of the non-recourse premium financing in 2006 came after the

policy’s two-year contestability period had expired.” Id. By contrast, the court found Vida was not

an “innocent purchaser” and was instead a “highly sophisticated buyer fully aware of all the

material facts and significant risk,” and despite the “red flags that came up during its review


                                                 11
Case 1:20-cv-00736-JLH           Document 205 Filed 06/02/23               Page 15 of 21 PageID #:
                                           13855



process,” “took a calculated risk to try to profit from it.” Id. at 1041. In a nutshell, the court held

that where two sophisticated parties both knew or should have known some things about a policy’s

lack of insurable interest, neither is less at fault than the other, and there is no basis to find an

exception to the general rule that parties to illegal contracts are ordinarily left where they are found.

        The same analysis applies here. Viva is a sophisticated life insurance investor.




                            As in Corwell, this Court should conclude that Viva—a sophisticated

investor that walked into this transaction with eyes wide open to its risks—simply cannot prove it

was less at fault. See Seck, 284 A.3d at 67 n.192 (quoting Wal-Mart v. Crist, 855 F.2d 1326, 1335

(8th Cir. 1998) (“‘The general rule with respect to illegal contracts is that neither courts of law nor

of equity will interpose to grant relief to the parties, if they have been equally cognizant of the

illegality.’ The level of culpability of the parties was best put, we think, by the district court when

it said, ‘there is more than enough fault to go around in this case.’ Accordingly, we find that the

district court should have found the parties in pari delicto and refused to grant relief of any sort.”)).

        D.      No Rational Juror Could Conclude Wilmington Can Carry Its Burden Of
                Proving The Prior Owners Were Less At Fault Than Columbus.
        Frankel & De Bourbon explained that to recover premium paid by prior owners an investor

must “prove that all or some of the former owners were less at fault than” the insurer. 2023 WL

2564350, at *11. No rational factfinder could find the prior owners less at fault than Columbus.

        The first entity that paid premium was the Kavanaugh Organization through the sham

Trusts it created and controlled. Not only was the Kavanaugh Organization the original STOLI



                                                   12
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23             Page 16 of 21 PageID #:
                                          13856



bad actor that cooked up the human life wagers here, but it knew the Policies were originated by

financially inducing seniors into allowing investors to use them as instruments to create policies

for investors and then concealed the scam by telling Columbus the policies were supported by

traditional insurable interest, would never be sold, and existed to serve bona fide estate planning

needs. No rational factfinder could find the STOLI fraudster less at fault than its victim.

       The second entity that paid premium was a STOLI investor called ABC that bought the

Policies directly from Kavanaugh. Wilmington has put no evidence in the record that ABC did

anything to investigate the Policies’ origination or showing ABC did not learn from Kavanaugh

how the Policies were procured. ABC was a criminal enterprise. A year after acquiring the Policies,

the SEC placed ABC into receivership for defrauding investors. See SEC v. ABC Viatical, No.

3:06-cv-2136 (N.D. Tex. Nov. 17, 2006), ECF No. 1. ABC’s principals were thrown in jail for

knowingly acquiring policies acquired by fraud, “l[ying] to investors who purchased fraud-tainted”

policies, and misappropriating funds. U.S. v. Lamonda, 384 F. App’x 944, 944-45 (11th Cir. 2010).

       Wilmington, the party with the burden of proof, has the burden of proving that this criminal

enterprise was less at fault than Columbus. But Wilmington has no evidence at all on this topic.

Wilmington did not issue subpoenas to ABC or its principals. Nor did Wilmington try to depose

anyone connected with ABC. Because Wilmington has not produced any evidence bearing on the

relative culpability of ABC, Wilmington cannot possibly prove that ABC conducted a “thorough

investigation” into the Policies’ origination; that ABC did not know or suspect the Policies were

void; that ABC did not ignore red flags; that ABC did not have knowledge of facts tending to

suggest the Policies were void; that ABC’s expertise in the industry should have caused it to know

or suspect substantial STOLI problems; or that ABC was not on inquiry notice of the Policies’

invalidity. In comparison, around the same time that ABC was defrauding its investors and




                                                 13
Case 1:20-cv-00736-JLH         Document 205 Filed 06/02/23              Page 17 of 21 PageID #:
                                         13857



committing federal crimes, Columbus attempted to learn as much as it could about the Concordia

program. But like ABC’s investors, Columbus was also lied to. When the truth about ABC and its

criminal insurance fraud is juxtaposed with Columbus’s thorough investigation into the Policies,

no rational factfinder could determine ABC was less at fault than Columbus.

       The third entity that paid premium was a family of affiliated funds called Orca. In 2008,

just two years after ABC was put into receivership, the portfolio containing the Policies was

acquired by Orca LSI Trust. And prior to ending up in Viva’s possession, the portfolio was shuffled

between several different Orca-related entities, including Orca Halley Trust, Halley Trust, and

Orca Trust (collectively, with Orca LSI Trust, “Orca”). In 2009, however, long before Orca lost

possession of the portfolio and Viva ultimately bought it at auction, Orca attempted to sell several

of the policies, including the Cohen Policy, to another investor known as Financial Life Services,

LLC (“FLS”). But after making an offer to buy the Cohen Policy and executing a sales agreement,

FLS backed out of the deal and never bought the Cohen Policy. Exhibit LLLL, Orca Complaint

¶¶ 17, 27. This caused Orca to sue FLS and its principal, Michael Krasnerman, seeking to enforce

the sale or an award of damages for breach of contract and other claims. Id. at 10-16.

       FLS retained the law firm of Locke Lord Bissell & Liddell, a prominent firm commonly

hired by STOLI investors. Exhibit MMMM, Answer. On April 21, 2010, Locke Lord, on behalf

of FLS, filed an answer with affirmative defenses and counterclaims. Id. FLS’s affirmative

defenses alleged that Orca’s claims (i) “are barred as against [FLS] because the insurance

policy(ies) that are the subject of the relevant agreement(s) were procured illegally, and thus the

relevant agreement(s) are void as of inception”; and (ii) “are barred as against [FLS] because the

insurance policy(ies) that are the subject of the relevant agreement(s) were void.” Id. ¶¶ 82-103.




                                                14
Case 1:20-cv-00736-JLH          Document 205 Filed 06/02/23             Page 18 of 21 PageID #:
                                          13858



       To support FLS’s claims that the Cohen Policy was STOLI, Locke Lord alleged that it was

transferred just 16 months after it was issued, which “is known in the settlement industry as a

‘wet paper’ transaction . . . [and such] transactions are widely considered an indicia of fraud in

the procurement of the policy [and] are themselves illegal in a number of states.” Id. at Cntrcls

¶¶ 17-18 (emphasis added). Locke Lord also asserted that had FLS known the Cohen Policy was

part of a wet paper transaction, “it would not have entered into the Sales Agreements” for the

Cohen Policy. Id. ¶ 19. Locke Lord also said the Cohen Policy and the two other policies were

procured on about the same date, which “is an indicia that the three Policies constitute ‘stranger

owned life insurance’ (known in the life insurance and life settlement industries as ‘STOLI’),

which violates state insurable interest laws, and which creates a risk that the Policies could be

voided by the insurers per applicable state law.” Id. ¶¶ 20-21 (emphasis added).

       FLS also asserted counterclaims for (i) breach of contract; (ii) fraud; and (iii) negligent

misrepresentation, alleging Orca (i) breached the sales agreements by falsely representing “there

has been no direct or indirect premium financing, transfer of an interest in the Policies, and/or

transfer of a beneficial interest in an entity that has or had an economic interest in the Policies”;

and (ii) knowingly or recklessly made false representations and material omissions concerning the

fact that “the Cohen and Davis Policies constitute ‘stranger-owned life insurance.’” Id. ¶¶ 26-46.

       Orca was on inquiry notice of the Policies’ invalidity in 2010 when its adversary alleged

in a formal judicial proceeding that the Cohen Policy (which has identical characteristics to the

Romano Policy) was void STOLI because a prudent person would have inquired further. And we

don’t know what, if anything, Orca did because Wilmington, the party with the burden, did not

bother to collect Orca’s documents or to subpoena any person affiliated with it. Thus, the record

lacks any evidence from which a rational factfinder could conclude Orca was less at fault.




                                                 15
Case 1:20-cv-00736-JLH         Document 205 Filed 06/02/23              Page 19 of 21 PageID #:
                                         13859



       E.      Awarding Wilmington A Refund Of The Premium Would Have The
               Impermissible Effect Of Allowing The Illegal Wager To Pay Off.
       In Frankel & De Bourbon, the investor argued that, even if the policies were deemed void,

it could estop the insurer from challenging them through affirmative defenses or obtain damages

equivalent to the death benefit through counterclaims. The Supreme Court rejected this argument:

       But a court order requiring [the insurer] to pay the policies’ death benefits to
       Wilmington Trust would, in effect, enforce the illegal STOLI policies in violation
       of Article II, Section 17 of the Delaware Constitution and the State’s strong public
       policy against human-life wagering. Such a remedy would fly in the face of our
       repeated avowals that enforcement of a STOLI policy is not an option.

Id. at *7. Here, the Policies’ death benefit was $10 million. After the Policies were challenged—

and after Wilmington sat idly by for 1.5 years as Columbus went to considerable effort to prove

the Policies were void never intending to genuinely contest that—Viva then conceded they were

invalid and sought a “refund” of over $10 million, about half of which consists of premium Viva

did not pay. If Wilmington receives this windfall, it “would, in effect, enforce the illegal STOLI

policies” because Viva will receive more than the death benefit and thus more than it would have

recovered had it not been caught investing illegally. Id.; see Wuliger v. Manuf. Life, 567 F.3d 787,

797 (6th Cir. 2009) (explaining that it is unfair to allow a STOLI investor to be able to announce

its fraud if and when paying premium is no longer economically positive and receive a refund;

whereas, an ordinary policyholder has no such option). This would not further Seck’s policy

goals—the most important of which is “discourag[ing] these policies from coming into

existence”—because it would make downstream STOLI investing profitable, which would incent

upstream actors to create more STOLI to satisfy that demand. Seck, 284 A.3d at 72.

III.   CONCLUSION

       Columbus respectfully requests the Court enter summary judgment in its favor.

Dated: May 19, 2023




                                                16
Case 1:20-cv-00736-JLH   Document 205 Filed 06/02/23       Page 20 of 21 PageID #:
                                   13860



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                                     17
Case 1:20-cv-00736-JLH         Document 205 Filed 06/02/23             Page 21 of 21 PageID #:
                                         13861



                                CERTIFICATE OF SERVICE

       I, Donald L. Gouge, Jr., do hereby certify that on this 19th day of May, 2023, a copy of the

within Plaintiff Columbus Life Insurance Company’s Supplemental Brief in Support of its Motion

for Summary Judgment was filed via CM/ECF and served on all counsel of record.




Dated: May 19, 2023                                  /s/ Donald L. Gouge, Jr.
                                                     Donald L. Gouge, Jr. (#2234)




                                               18
